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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,       )            CR NO. 07-00268-02 JMS
                                 )
                Plaintiff,       )            ORDER DENYING DEFENDANT’S
                                 )            MOTION TO SUPPRESS WIRETAP
           vs.                   )            EVIDENCE
                                 )
 JOHN EDUARDO AYALA, (02)        )
                                 )
                Defendant.       )
 _______________________________ )

  ORDER DENYING DEFENDANT’S MOTION TO SUPPRESS WIRETAP
                       EVIDENCE

                                I. INTRODUCTION

              The United States intends to use evidence obtained as a result of four

 separate Wiretap Orders in the criminal prosecution of John Eduardo Ayala

 (“Defendant”). Defendant now moves to suppress all evidence obtained from the

 wiretap, claiming that the authorizing judicial officer erred in determining that the

 affidavits demonstrated the necessity requirement for the wiretaps. After

 reviewing the Orders authorizing the wiretaps, the applications and affidavits

 presented in support of those Orders, the Motion to Suppress Wiretap Evidence

 and the United States’ Opposition, and the arguments of counsel at the November

 21, 2007 hearing, the court DENIES Defendant’s Motion to Suppress.
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                                    II. BACKGROUND

 A.     The Authorization and Objectives of the Wiretaps

                Defendant’s Motion to Suppress involves four separate Orders

 Authorizing the Interception of Wire and Electronic Communications, all signed

 by United States District Judge Susan Oki Mollway: 1) a December 11, 2006

 Order Authorizing the Interception of Wire and Electronic Communications

 relating to cellular telephone number (702) 358-8245 (“Telephone No. 1”); 2) a

 January 10, 2007 Order Authorizing the First Renewal of Interception of Wire

 Communications on Telephone No. 1 for an additional thirty days;1 3) a January 8,

 2007 Order Authorizing the Interception of Wire Communications relating to

 cellular telephone number (808) 779-4765 (“Telephone No. 2”); and 4) a January

 25, 2007 Order2 Authorizing the Interception of Wire and Electronic

 Communications relating to cellular telephone number (808) 457-8705

 (“Telephone No. 4”).3


        1
          This Order also authorized the wiretap of telephone number (702) 237-5153, which the
 United States refers to as “Target Telephone 3.” The United States represents that it will not
 offer evidence of any telephone calls intercepted over this line during trial.
        2
          An Amended Order Authorizing the Interception of Wire Communications on this
 telephone was entered on February 5, 2007. It appears that the Amended Order was sought due
 to a typographical error contained in the caption of the January 25, 2007 Order.
        3
          The court refers to this telephone as “Telephone No. 4” in this Order to maintain
 consistency with the United States’ numbering system as referenced in the various affidavits.

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               In each of her Orders, Judge Mollway found probable cause that the

 named subjects and others had and were committing various federal offenses,

 including controlled substance offenses and money laundering. Judge Mollway

 also found, in paragraph 4 of each Order, that “[i]t has been adequately established

 that normal investigative techniques have been tried and have failed or reasonably

 appear unlikely to succeed if tried.”

              The objective of each wiretap was to determine the full scope and

 operations of a conspiracy to distribute drugs, and to gain sufficient admissible

 evidence to prosecute those involved. Telephone No. 1’s application states that

 the objectives were to reveal:

              (1) the nature, extent and methods of operation of the narcotics
              business of the target subjects, (2) the identities of the target
              subjects, their accomplices, aiders and abettors, co-conspirators
              and participants in their illegal activities, (3) the receipt and
              distribution of contraband and money involved in those
              activities, (4) the locations of contraband and of items used in
              furtherance of those activities, (5) the existence and locations
              of records, (6) the location and source of resources used to
              finance their illegal activities, and (7) the location and
              disposition of the proceeds from those activities.

 Telephone No. 1 Application ¶ 9. The other applications list objectives that are

 substantially identical.

              Drug Enforcement Administration (“DEA”) Agent William Wise’s

 December 11, 2006 Affidavit in Support of Application for Order to Authorize

                                           3
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 Wire and Electronic Interceptions on Telephone No. 1 sets forth similar

 objectives:

               In particular, these wire and electronic communications are
               expected to concern the specifics of the above offenses,
               including: (i) the identities of source(s) of supply, customers,
               participants, aiders and abettors and other co-conspirators of
               the Interceptees in their illegal activities; (ii) site(s) for storage
               of illegal drugs; (iii) dates, times, places and schemes for
               buying, concealing, possessing, delivering, distributing, and
               paying for illegal drugs; (iv) the locations of items used in
               furtherance of the illegal activities, including weapons; (v) the
               existence and location of records, in particular drug ledgers,
               associated with this activity; (vi) the nature, extent, and
               methods of the criminal organization in which the Interceptees
               participate; (vii) the location and source of resources used to
               finance the illegal activities; and (viii) the subsequent
               concealment[,] distribution, and transfer of contraband and
               proceeds from these illegal activities.

               DEA Agent Clement Sze’s January 10, 2007 Affidavit in Support of

 the Application for the First Renewal of the Interception of Wire Communications

 on Telephone No. 1, DEA Agent Gary A. Byrd’s January 5, 2007 Affidavit in

 Support of the Application for an Order Authorizing the Interception of Wire

 Communications on Telephone No. 2, and DEA Agent Byrd’s January 25, 2007

 Affidavit in Support of the Application for an Order Authorizing the Interception

 of Wire Communications on Telephone No. 4 all set forth the following

 objectives:



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              In particular, these wire communications are expected to
              concern the specifics of the above offenses, including: (i) the
              nature, extent, and methods of operation of the business of the
              violators and others yet unknown; (ii) the identities and roles of
              accomplices, aiders and abettors, co-conspirators, and
              participants in their illegal activities; (iii) the distribution and
              transfer of the contraband and money involved in those
              activities; (iv) the existence and location of records; (v) the
              location and source of resources used to finance their illegal
              activities; (vi) the location and disposition of the proceeds from
              those activities; and (vii) the locations and items used in
              furtherance of those activities.

 B.    Telephone No. 1

              Agent Wise’s December 11, 2006 Affidavit in Support of Application

 for Order to Authorize Wire and Electronic Interceptions on Telephone No. 1 sets

 forth the steps that the investigators took prior to seeking a court approved

 wiretap, and the inadequacy of normal investigative procedures. Agent Wise’s

 affidavit was incorporated by reference into the three later filed affidavits

 regarding Telephone No. 1, Telephone No. 2, and Telephone No. 4. The

 following is a summary only, putting into context Defendant’s contention that the

 United States failed to satisfy the necessity requirement.

       1.     The Use of Confidential Informants

              At the time of the initial wiretap application for Telephone No. 1, the

 DEA had obtained significant information regarding Defendant’s involvement in a

 conspiracy to distribute crystal methamphetamine. Much of the information was

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 obtained from confidential sources and consensually recorded telephone

 conversations. The affidavits describe in some detail how these sources were

 developed and the investigation’s use of these sources of information.

              Cooperating Source Number One (“CS-1”), having several prior

 arrests and convictions, cooperated with the DEA after a June 3, 2004 arrest for

 possession of crystal methamphetamine. CS-1 admitted to purchasing crystal

 methamphetamine from Roxanne Bates, who claimed to obtain the drugs from

 Defendant, Wilsonis Ayala, and “BUDA.” CS-1 provided information that Bates

 aided the Ayala organization in recruiting couriers to transport drugs between Las

 Vegas, Nevada and Hawaii. CS-1 claims that Bates requested CS-1 to courier the

 drugs. Agent Wise’s December 11, 2006 Affidavit in Support of Application for

 Order to Authorize Wire and Electronic Interceptions on Telephone No. 1 ¶¶ 19-

 23.

              Cooperating Source Number Two (“CS-2”), having several prior

 arrests and a conviction, cooperated with the DEA after a March 2, 2005 arrest for

 possession of crystal methamphetamine. CS-2 stated that CS-2 frequently

 accompanied Bates when she distributed drugs, and assisted by counting money

 from the transactions. According to CS-2, Bates stated that Wilsonis Ayala

 supplied Bates with drugs for distribution. Id. at ¶¶ 24-29.


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                 CS-2 asserted that after Wilsonis Ayala’s March, 2005 arrest,

 Defendant and Jose Tito Ayala continued to traffic crystal methamphetamine for

 the Ayala organization. CS-2 identified individuals as members of the Ayala

 organization and described various activities of these individuals, including their

 involvement with the transportation of drugs and money. Id. ¶¶ 30-32.

                 Cooperating Source Number Three (“CS-3”), having several prior

 arrests and convictions, cooperated with the DEA after a July 21, 2005 arrest for

 obstructing a criminal investigation and obstructing police (and was subsequently

 charged in a federal indictment with obstruction of justice arising out of an attempt

 to pay a witness to testify falsely). According to CS-3, from January, 2005 to

 March, 2005, CS-3 met with Wilsonis Ayala on an almost daily basis to obtain two

 to three ounces of crystal methamphetamine. Wilsonis Ayala told CS-3 that he

 had approximately four partners who assisted in the distribution of drugs.

 Id. ¶¶ 33-37.

                 Cooperating Source Number Four (“CS-4”), having several prior

 arrests and convictions, cooperated with the DEA after a May 28, 2005 arrest for

 possession of crystal methamphetamine. CS-4 indicated that he has known

 Defendant since approximately 1998 or 1999, and knew him to distribute crystal

 methamphetamine. Id. ¶¶ 39-42.


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               CS-4 claimed to have been present when, in 2002, John, Julio, and

 Wilsonis Ayala counted an estimated $1,000,000 that had been delivered to Las

 Vegas, Nevada from California in a U-Haul truck. CS-4 also drove tow trucks that

 he believed contained money and/or drugs, collected money for Defendant, and

 purchased pound quantities of drugs from John and Wilsonis Ayala for

 distribution in Hawaii. CS-4 also provided the names and roles of other members

 and customers of the Ayala organization.4 Id. ¶¶ 42-44.

               Cooperating Source Number Five (“CS-5”), having several prior

 arrests and convictions, cooperated with the government after an April 14, 2006

 arrest for possession with intent to distribute methamphetamine. CS-5 told

 investigators that, beginning in 2004, CS-5 purchased crystal methamphetamine

 from Defendant. Initially, CS-5 purchased one to two pounds of crystal

 methamphetamine from Defendant on approximately three separate occasions.

 CS-5 later agreed to receive drug shipments from Defendant. CS-5 estimated that

 he received four to five parcel shipments of fourteen to twenty pounds each of

 crystal methamphetamine. The shipments were made via the United States Postal

 Service by sealing the drugs in tin cans using a canning machine. CS-5 also


        4
           On August 19, 2005, CS-4 also made a controlled delivery of $5,000 to Defendant as
 partial payment for approximately eight ounces of crystal methamphetamine that CS-4 reported
 he had received from Defendant. Id. ¶¶ 76-82.

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 explained that he acted as a translator for Defendant and other members of the

 drug trafficking organization that did not speak English. CS-5 also arranged a

 shipment of crystal methamphetamine with Nelson Gaitan-Ayala. Id. ¶¶ 49-55.

             Source of Information Number One (“SOI-1”), having several prior

 arrests and convictions, cooperated with the DEA after a December 9, 2005 arrest

 for possession with intent to distribute crystal methamphetamine. According to

 SOI-1, Defendant sold SOI-1 approximately 17 pounds of crystal

 methamphetamine in May or June, 2005. SOI-1 also described purchasing a

 canning machine for Defendant to use to conceal and ship drugs. SOI-1 described

 receiving drugs from Defendant packaged in cans on at least three occasions. Id.

 ¶¶ 59-62.

       2.    Information Gathered from Arrests

             The Wise affidavit also details the arrests of various individuals. The

 information gathered from these arrests, consistent with information obtained

 through the confidential sources, indicated that Wilsonis Ayala and Roxanne Bates

 had recruited several couriers to carry crystal methamphetamine from Las Vegas,

 Nevada to Hawaii. On March 2, 2005, the police arrested Raychel Cabral,

 Wilsonis Ayala, and Roxanne Bates. Bates indicated that she distributed drugs in

 Hawaii and then paid Defendant through another party. In a separate arrest, an


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 individual indicated that he had been fronted drugs by Defendant for resale. Id. ¶¶

 63-70.

       3.    Search Warrants and Seizures

             A March, 2004 search warrant executed on Wilsonis Ayala’s Honolulu

 residence yielded crystal methamphetamine and $49,100. A search warrant

 executed on Jose Ayala’s Honolulu residence on November 15, 2005 yielded a gun

 and crystal methamphetamine. Id. ¶¶ 71, 86.

             Agents also seized United States currency during the course of the

 investigation. Among other seizures, on July 13, 2006, $28,000 was seized from a

 Mail Boxes Etc. store, apparently being sent by Raychel Cabral to Las Vegas,

 Nevada. On October 10, 2006, $105,880 was seized from Nathan Oandasan, a

 person associated with the Ayala drug organization, at the Honolulu International

 Airport. Id. ¶¶ 87-90.

             On November 16, 2006, CS-5 informed agents that Defendant was

 sending a package to CS-5 containing crystal methamphetamine. Agents

 confirmed the United States Postal Service tracking number, and located the

 package sent from Las Vegas, Nevada to Honolulu, Hawaii. A search of the

 parcel pursuant to a November 17, 2006 search warrant disclosed the presence of

 approximately six pounds of a substance that field-tested positive for the presence


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 of methamphetamine. Id. ¶¶ 95-98.

       4.     The Necessity Requirement

              According to Agent Wise’s affidavit, the DEA investigation had

 failed to identify all of the co-conspirators and the sites of storage for the

 narcotics. Id. ¶ 102. DEA agents either tried or considered several other

 investigative methods. The investigative techniques used, according to the

 affidavit, “have not been able to establish the identities of all those participating in

 the illegal activity.” Id. ¶ 103. Agent Wise’s affidavit discusses the limitations of

 physical surveillance in relation to the ongoing investigation, and that the tight-

 knit nature of the communities in which the conspiracy operated limited the ability

 of the DEA to make additional attempts at physical surveillance. Id. ¶¶ 104-105.

 Pen registers, telephone toll records, trap and trace devices, searches, and the use

 of confidential sources were also used as part of the investigation. The Wise

 affidavit explains, in detail, the use and shortcomings of these investigative

 techniques in relation to the investigation. Id. ¶¶ 107-18, Finally, the

 investigators considered and rejected the possibility using grand jury subpoenas or

 interviews, the execution of additional search warrants, the use of undercover

 officers, and trash searches. Id. ¶¶ 106, 109-111, 113.




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  C.      The First Renewal on Telephone No. 1

               Agent Sze’s affidavit in support of the thirty-day renewal for a

 wiretap on Telephone No. 1 states that, “[t]o date, the full objectives of the

 investigation have not been obtained.” Agent Clement Sze’s January 10, 2007

 Affidavit in Support of the Application for the First Renewal of the Interception of

 Wire Communications on Telephone No. 1 ¶ 20. The affidavit discloses the

 names of newly determined co-conspirators (based on an analysis of intercepted

 calls on Telephone No. 1), and describes many of the phone calls intercepted. Id.

 ¶¶ 21, 26-38. The affidavit further explains that Agent Sze believes that the

 continued wiretap “is the only technique that will achieve the objectives of this

 investigation, which is the dismantlement of the entire Ayala organization.” Id. ¶

 54. The Sze affidavit also sets forth, in detail and in specific relation to the Ayala

 organization, how normal investigative techniques (electronic and physical

 surveillance; use of grand jury subpoenas and/or interviews; use of confidential

 sources; search warrants or consent searches; pen registers, telephone toll records,

 trap and trace devices; use of undercover officers; and trash searches) have failed,

 been met with limited success, appear likely to fail, or are too dangerous. Id. ¶¶

 57-72.




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 D.    Telephone No. 2

              Agent Byrd’s affidavit in support of a wiretap on Telephone No. 2

 states that, “[t]o date, the full objectives of the investigation [relating to the

 investigation concerning Telephone No. 1] have not been attained.” Agent Gary

 A. Byrd’s January 5, 2007 Affidavit in Support of the Application for an Order

 Authorizing the Interception of Wire Communications on Telephone No. 2 ¶ 13.

 As a result, the United States sought authorization to wiretap a cellular telephone

 used primarily by Raychel Cabral. The affidavit further describes telephone

 conversations between CS-5, Defendant, and Raychel Cabral. The affidavit

 describes three partial payments totaling $28,000 that CS-5 made to Defendant

 and Raychel Cabral (at the direction of the DEA) in December, 2006, as

 compensation for the six pounds of methamphetamine seized on November 17,

 2006. Id. ¶¶ 15-17, 21, 23. Agent Byrd also recounted four December 22, 2006

 conversations between Defendant and Cabral regarding United States currency

 being sent from Cabral in Honolulu to Defendant in Las Vegas. Id. ¶ 24.

              Agent Byrd’s affidavit sets forth in detail the need for the

 interception, explaining that to date “[t]he methods of distribution and operation

 have not been fully identified. The identities and roles of accomplices, aiders and

 abettors, co-conspirators and participants in their illegal activities have not been


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 fully determined.” Id. ¶ 29. The Byrd affidavit also explains, in detail and in

 specific relation to the Ayala organization, how normal investigative techniques

 (for example, electronic and physical surveillance; use of grand jury subpoenas

 and/or interviews; use of confidential sources; search warrants; pen registers;

 telephone toll records; and use of undercover officers) have failed, been met with

 limited success, appear likely to fail, or are too dangerous. Id. ¶¶ 29-44.

 E.    Telephone No. 4

              At some point after the interceptions began on Telephone No. 2, the

 DEA determined that Cabral, with “a history of rapidly discontinuing the use of

 telephone facilities,” began to use Telephone No. 4. Agent Gary A. Byrd’s

 January 25, 2007 Affidavit in Support of the Application for an Order Authorizing

 the Interception of Wire Communications on Telephone No. 4 ¶ 32. Agent Byrd

 summarizes various telephone calls involving Telephone No. 4 which appear to

 relate to drugs or the movement of United States currency.

              Agent Byrd’s affidavit again sets forth in detail the need for the

 interception, explaining that to date “[t]he methods of distribution and operation

 have not been fully identified. The identities and roles of accomplices, aiders and

 abettors, co-conspirators and participants in their illegal activities have not been

 fully determined.” Id. ¶ 31. Agent Byrd further explains that although some


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 success was met through the interceptions on Telephone No. 1 and Telephone No.

 2, “agents still do not fully know the method of operation utilized by individuals in

 this drug organization to facilitate their carefully planned narcotic transactions.”

 Id. Further, the investigation had not “identified other associates of Raychel

 Cabral and Zaneta Nixon, stash houses or locations for the storage of drugs, or

 assets accumulated as a result of the sale of drugs.” Id. ¶ 32.

               The Byrd affidavit also explains, in detail and in specific relation to

 the Ayala organization, how normal investigative techniques (for example,

 electronic and physical surveillance; use of grand jury subpoenas and/or

 interviews; use of confidential sources;5 search warrants; pen registers; telephone

 toll records; and use of undercover officers) have failed, been met with limited

 success, appear likely to fail, or are too dangerous. Id. ¶¶ 33-47.

                       III. THE NECESSITY REQUIREMENT

               Under Title III of the Omnibus Crime Control and Safe Streets Act of

 1968, an application for a wiretap must include “a full and complete statement as

 to whether or not other investigative procedures have been tried and failed or why

 they reasonably appear to be unlikely to succeed if tried or to be too dangerous.”



        5
        Agent Byrd explains that CS-1, CS-2, CS-3 and CS-4 were all “deactivated” by the
 DEA between June, 2005 and February, 2006.

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 18 U.S.C. § 2518(1)(c). Additionally, a judge may not authorize a wiretap unless

 the facts submitted by the applicant show that “normal investigative procedures

 have been tried and have failed or reasonably appear to be unlikely to succeed if

 tried or to be too dangerous.” 18 U.S.C. § 2518(3)(c). Taken together, these two

 sections require a full and complete statement establishing “necessity” for the

 wiretap.6 “The purpose of these requirements is to ensure that wiretapping is not

 resorted to in situations where traditional investigative techniques would suffice to

 expose the crime.” United States v. Blackmon, 273 F.3d 1204, 1207 (9th Cir.

 2001). These procedural mandates require “strict adherence,” with courts

 applying “utmost scrutiny” to determine if wiretap orders comply with the law. Id.

                The reviewing court applies a “common sense approach” using a

 standard of reasonableness “to evaluate the government’s good faith effort to use

 alternative investigative means or its failure to do so because of danger or low

 probability of success.” Id.

                A showing of necessity must go beyond generic limitations that are



        6
           During the hearing on this matter, counsel for Defendant stated that he was challenging
 compliance with the requirement of 28 U.S.C. § 2518(3)(c), not § 2518(1)(c). In other words, he
 is not claiming that the various applications failed to set forth a full and complete statement as
 required by law, but instead alleges that the authorizing judge incorrectly determined that the
 facts as set forth establish necessity. In any event, a de novo review of the affidavits establish
 compliance with § 2518(1)(c)’s “full and complete statement” requirement -- the affidavits are
 both voluminous and detailed.

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 inherent to traditional investigative methods. United States v. Gonzalez, Inc., 412

 F.3d 1102, 1114-15 (9th Cir. 2005). To establish necessity “the affidavit must

 show with specificity why in this particular investigation ordinary means of

 investigation will fail.” United States v. Ippolito, 774 F.2d 1482, 1486 (9th Cir.

 1985) (quoting United States v. Robinson, 698 F.2d 448, 453 (D.C. Cir. 1983)).

 Nonetheless, although a wiretap should not ordinarily be an initial step in the

 investigation, the government “need not exhaust every conceivable alternative

 before obtaining a wiretap.” United States v. McGuire, 307 F.3d 1192, 1197 (9th

 Cir. 2002).

               The Ninth Circuit has also recognized special needs when

 investigating conspiracies:

               Conspiracies pose other special dangers. Unlike individual
               criminal action, which comes to an end upon the capture of the
               criminal, collective criminal action has a life of its own. Like
               the Hydra of Greek mythology, the conspiracy may survive the
               destruction of its parts unless the conspiracy is completely
               destroyed. For even if some or many conspirators are
               imprisoned, others may remain at large, free to recruit others
               eager to break the law and to pursue the conspiracy’s illegal
               ends. Reflecting this concern, we have consistently upheld
               findings of necessity where traditional investigative techniques
               lead only to apprehension and prosecution of the main
               conspirators, but not to apprehension and prosecution of . . .
               other satellite conspirators. Because the government has a duty
               to extirpate conspiracy beyond its duty to prevent the mere
               commission of specific substantive offenses, we conclude that

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             the government is entitled to more leeway in its investigative
             methods when it pursues a conspiracy.

  Id. at 1197-98 (internal quotations marks and citations omitted); see also United

  States v. DeCoud, 456 F.3d 996, 1007 (9th Cir. 2006) (finding that the necessity

  requirement is evaluated in light of the government’s need to “develop an

  effective case against those involved in the conspiracy”) (quoting United States v.

  Brone, 792 F.2d 1504, 1506 (9th Cir. 1986); United States v. Bennett, 219 F.3d

  1117 (9th Cir. 2000).

               The Ninth Circuit also recognizes that previous success with the use

  of confidential informants “is even less persuasive in the context of an

  investigation of criminal conspiracy.” United States v. Canales Gomez, 358 F.3d

  1221, 1226 (9th Cir. 2004).

              We have stressed repeatedly that informants as a class,
              although indispensable to law enforcement, are oftentimes
              untrustworthy. . . . On occasion, informants mislead
              investigators and prosecutors in order to feather their own
              nests. Indeed, juries in federal cases are routinely instructed
              that the testimony of witnesses receiving anything from the
              government in return for the witness’s cooperation must be
              examined “with greater caution than that of other witnesses.”
              There is not a trial lawyer alive who does not understand that
              juries are wary of any witness receiving a benefit for testifying.
              Here, the government is to be commended for its interest in
              wiretap evidence, which, compared to the word of an informant
              either in the field or in court, is the gold standard when it
              comes to trustworthy evidence. The truth-seeking function of

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              our courts is greatly enhanced when the evidence used is not
              tainted by its immediate informant source and has been
              cleansed of the baggage that always comes with them.
              Moreover, wiretap evidence out of the mouths of defendants is
              valuable corroboration of informant testimony. Such evidence
              serves also to ensure that what investigators are being told by
              informants is accurate, a very valuable function that guards
              against the indictment of the innocent.

 Id. at 1226-27.

                          IV. STANDARD OF REVIEW

              The issuing judge’s decision that the wiretap was necessary is factual

 in nature and is reviewed for abuse of discretion. Blackmon, 273 F.3d at 1207;

 Brone, 792 F.2d at 1506. Thus, the reviewing court gives deference to the issuing

 judge’s finding that the wiretap was necessary to achieve the goals of the

 investigation. The same standard applies to any reviewing court, including a

 district court. See United States v. Stevens, 800 F. Supp. 892, 905 (D. Haw. 1992);

 United States v. Chan, 2006 WL 1581946, at *5 (N.D. Cal. June 6, 2006).

                                   V. ANALYSIS

              Defendant argues that the wiretaps were not necessary because

 traditional investigative techniques were working, as demonstrated by the arrest of

 some of the co-conspirators prior to the wiretaps. Although partially true, this

 argument ultimately fails as it ignores the relation of the wiretaps to the objectives



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 of the investigation -- to determine the full scope and nature of the conspiracy to

 distribute drugs, and to gain sufficient admissible evidence to prosecute those

 involved.

              Despite the DEA’s pursuit of many traditional techniques, the

 investigation still had not fully disclosed the conspiracy’s scope, the identities of

 co-conspirators, and sites for the storage of narcotics. As explained by Agent

 Byrd in the last (January 25, 2007) of the affidavits, “agents still do not fully know

 the method of operation utilized by individuals in this drug organization to

 facilitate their carefully planned narcotic transactions.” Agent Byrd also explained

 that co-conspirators, stashhouses, and assets had yet to be identified. Although

 conventional investigative techniques provided preliminary evidence of parts of

 the conspiracy, the Ninth Circuit has “consistently upheld findings of necessity

 where traditional investigative techniques lead only to apprehension and

 prosecution of the main conspirators, but not to the apprehension and prosecution

 of . . . other satellite conspirators.” McGuire, 307 F.3d at 1198; Canales Gomez,

 358 F.3d at 1226.

              The affidavits explain in detail, and in specific relation to the Ayala

 organization, why normal investigative techniques had been tried and had failed or

 reasonably appeared unlikely to succeed if tried. As to the confidential sources,

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 the four affidavits establish that they provided information only after their own

 arrests, they were not active or inside members of the Ayala organization, they

 were in an unlikely position to uncover Defendant’s source of drugs, and CS-1,

 CS-2, CS-3, and CS-4 had been “deactivated” for various reasons. In short, the

 investigation, as demonstrated in all four affidavits, needed more to meet its

 objective of determining the full scope and nature of the conspiracy.

              Further, the four affidavits discussed the limitations of other

 traditional investigative techniques, again with specific reference to the Ayala

 investigation. They relate specific instances and practices of the members of the

 Ayala organization. For example, the January 25, 2007 Byrd Affidavit discusses

 the limitation of surveillance as to Raychel Cabral and that Defendant used

 counter-surveillance techniques. With regard to telephone records, Defendant and

 others used multiple telephones, often listed in various names. Grand jury

 subpoenas would likely not have been of much use because the people called

 would likely be co-conspirators and could invoke their Fifth Amendment right

 against self-incrimination. Trash searches likely would have been of limited

 value, due in part to the fact that some residences were in buildings with common

 trash bins and would have been likely to alert members of the conspiracy to the

 investigation. The placement of undercover agents, according to the affidavits,

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 had been considered and rejected as too dangerous due to the close-knit nature of

 the organization, some of whom were family members.

               For each of the four wiretaps, Judge Mollway found that “[i]t has

 been adequately established that normal investigative techniques have been tried

 and have failed or reasonably appear unlikely to succeed if tried.” These findings,

 for each individual Order, is fully supported by the applications and affidavits.

 The issuing court appropriately exercised its discretion in finding that the

 necessity requirement had been satisfied.

                                   VI. CONCLUSION

               For the foregoing reasons, this court DENIES Defendant’s Motion to

 Suppress Wiretap Evidence.

               IT IS SO ORDERED.

               DATED: Honolulu, Hawaii, December 11, 2007.




                                            /s/ J. Michael Seabright
                                            _____________________________
                                            J. Michael Seabright
                                            United States District Judge




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